Case 1:15-cr-20330-UU Document 191 Entered on FLSD Docket 04/18/2017 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 15-CR-20330

    UNITED STATES OF AMERICA,

               Plaintiff,

    vs.

    JORGE EDUARDO SANCHEZ GRANADOS,

               Defendant.
                                        _____________/

                        MOTION FOR DOWNWARD VARIANCE

               COMES NOW, the Defendant, JORGE EDUARDO SANCHEZ

    GRANADOS, by and though his undersigned counsel, and respectfully files

    this his Motion for Downward Variance and, in support of this motion

    would show unto this court as follows:

          1.          Mr. Sanchez Granados is a 36 year old Colombian man with the

               some college education and an aborted military career due to a back

               injury he suffered while pursuing a career in the Colombian Military.

               He has a 7 year old daughter from a previous relationship that he

               helped to support financially until he was arrested on January 18,

               2016 on the instant charges. Mr. Sanchez Granados struggled to make

               ends meet legally and therefore succumbed to the temptation offered

               to him by co-conspirators and became involved in drug trafficking
Case 1:15-cr-20330-UU Document 191 Entered on FLSD Docket 04/18/2017 Page 2 of 3



            which brings him before this court for sentencing. Mr. Sanchez

            Granados was extremely unsuccessful and lost way more than he

            made while attempting to traffic cocaine. As indicated in paragraph 19

            of the Presentence Investigation Report, Mr. Sanchez Granados is

            accountable for 4,450 kilograms of Cocaine to which he has freely

            admitted. He was only involved in Count I of this Indictment which

            involves the seizure of 3,826 kilograms of cocaine in Cartagena,

            Colombia on January 21, 2013.

       2.         On the other hand, , HECTOR DANIEL WILCHES

            PERALTA, who was an equal partner with Mr. Sanchez Granados on

            Count I, was also involved in Count II, which involved the seizure of

            1,406 kilograms of cocaine from a warehouse. Mr. WILCHES-

            PERALTA is       responsible for 5,232      kilograms    of cocaine.

            Nevertheless, Mr. WILCHES-PERALTA             received a 70 month

            sentence. The Probation Officer states that she recommended a minor

            role reduction for WILCHES-PERALTA, which this Court adopted,

            thereby resulting in the 70 month sentence for Mr. WILCHES-

            PERALTA.

       3.         The Defendant herein, Mr. Sanchez Granados, was an equal

            partner with Mr. WILCHES-PERALTA, only on Count I and is
Case 1:15-cr-20330-UU Document 191 Entered on FLSD Docket 04/18/2017 Page 3 of 3



          responsible for 800 kilograms less than WILCHES-PERALTA.

          Consequently, in order to avoid an unwarranted sentencing disparity,

          Mr. Sanchez Granados should also receive a 70 month sentence, equal

          to the sentence recommended by Probation for WILCHES-PERALTA

          and allegedly adopted by this Court.



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 18th day of April, 2017, I

    electronically filed the foregoing with the Clerk of the Court.




                                           Respectfully submitted,

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